                                   NO. 12-23-00273-CR

                          IN THE COURT OF APPEALS

               TWELFTH COURT OF APPEALS DISTRICT

                                      TYLER, TEXAS

DARRYL WAYNE HOOD,                              §     APPEAL FROM THE 7TH
APPELLANT

V.                                              §     JUDICIAL DISTRICT COURT

THE STATE OF TEXAS,
APPELLEE                                        §     SMITH COUNTY, TEXAS

                                  MEMORANDUM OPINION
                                      PER CURIAM

       Darryl Wayne Hood appeals his conviction for evading arrest with a motor vehicle.
Appellant’s counsel filed a brief in compliance with Anders v. California, 386 U.S. 738, 87 S.
Ct. 1396, 18 L. Ed. 2d 493 (1967), and Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App.
1969). We affirm.
                                            BACKGROUND
       Appellant was indicted for evading arrest with a motor vehicle in Smith County, Texas.
The indictment further alleged that (1) Appellant used or exhibited a deadly weapon—a
vehicle—while evading, and (2) Appellant had two previous felony convictions for delivery of a
controlled substance and possession of a controlled substance. Appellant pleaded “not guilty,”
and the matter proceeded to a jury trial.
       The evidence at trial showed that Texas Department of Public Safety Trooper Ryan
Wilkinson observed Appellant’s vehicle traveling fifty miles per hour in a forty-five miles per
hour zone.    Therefore, Wilkinson attempted to initiate a traffic stop.   Instead of stopping,
Appellant accelerated, reaching ninety miles per hour. Eventually, Appellant lost control of his
vehicle and crashed. Appellant then fled on foot, and Wilkinson tackled him. Wilkinson opined
that Appellant’s vehicle constituted a deadly weapon under the circumstances. Ultimately, the
jury found Appellant “guilty” and that Appellant used a deadly weapon during the offense. At
the punishment stage, Appellant pleaded “true” to the enhancement paragraphs, and the jury
ultimately sentenced him to seventy years imprisonment. This appeal followed.


                            ANALYSIS PURSUANT TO ANDERS V. CALIFORNIA
        Appellant’s counsel filed a brief in compliance with Anders v. California and Gainous v.
State. Appellant’s counsel states that he diligently reviewed the appellate record and is of the
opinion that the record reflects no reversible error and that there is no error upon which an appeal
can be predicated. He further relates that he is well acquainted with the facts in this case. In
compliance with Anders, Gainous, and High v. State, 573 S.W.2d 807 (Tex. Crim. App. [Panel
Op.] 1978), Appellant’s brief presents a chronological summation of the procedural history of the
case and further states that Appellant’s counsel is unable to raise any arguable issues for appeal.1
We likewise reviewed the record for reversible error and have found none.


                                                 CONCLUSION
        As required by Stafford v. State, 813 S.W.2d 503 (Tex. Crim. App. 1991), Appellant’s
counsel moved for leave to withdraw. See also In re Schulman, 252 S.W.3d 403, 407 (Tex.
Crim. App. 2008) (orig. proceeding). We carried the motion for consideration with the merits.
Having done so and finding no reversible error, Appellant’s counsel’s motion for leave to
withdraw is hereby granted and the trial court’s judgment is affirmed.
        As a result of our disposition of this case, Appellant’s counsel has a duty to, within five
days of the date of this opinion, send a copy of the opinion and judgment to Appellant and advise
him of his right to file a petition for discretionary review. See TEX. R. APP. P. 48.4; In re
Schulman, 252 S.W.3d at 411 n.35. Should Appellant wish to seek review of this case by the
Texas Court of Criminal Appeals, he must either retain an attorney to file a petition for
discretionary review on his behalf or he must file a petition for discretionary review pro se. Any
petition for discretionary review must be filed within thirty days from the date of either this
opinion or the date that the last timely motion for rehearing was overruled by this Court. See

         1
           In compliance with Kelly v. State, Appellant’s counsel provided Appellant with a copy of the brief,
notified Appellant of his motion to withdraw as counsel, informed Appellant of his right to file a pro se response,
and took concrete measures to facilitate Appellant’s review of the appellate record. See Kelly v. State, 436 S.W.3d
313, 319 (Tex. Crim. App. 2014). Appellant was given time to file his own brief. The time for filing such a brief
has expired, and no pro se brief has been filed.


                                                        2
TEX. R. APP. P. 68.2. Any petition for discretionary review must be filed with the Texas Court of
Criminal Appeals. See TEX. R. APP. P. 68.3(a). Any petition for discretionary review should
comply with the requirements of Texas Rule of Appellate Procedure 68.4. See In re Schulman,
252 S.W.3d at 408 n.22.




Opinion delivered August 21, 2024.
Panel consisted of Worthen, C.J., Hoyle, J., and Neeley, J.




                                             (DO NOT PUBLISH)




                                                          3
                                   COURT OF APPEALS

      TWELFTH COURT OF APPEALS DISTRICT OF TEXAS

                                           JUDGMENT

                                           AUGUST 21, 2024


                                         NO. 12-23-00273-CR


                                     DARRYL WAYNE HOOD,
                                            Appellant
                                               V.
                                      THE STATE OF TEXAS,
                                            Appellee


                                  Appeal from the 7th District Court
                         of Smith County, Texas (Tr.Ct.No. 007-1432-23)

                       THIS CAUSE came to be heard on the appellate record and briefs filed
herein, and the same being considered, it is the opinion of this court that there was no error in the
judgment.
                       It is therefore ORDERED, ADJUDGED, and DECREED that the
judgment of the court below be in all things affirmed, and that this decision be certified to the
court below for observance.

                    By per curiam opinion.
                    Panel consisted of Worthen, C.J., Hoyle, J. and Neeley, J.
